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      Association
  9
 10                    IN THE UNITED STATES DISTRICT COURT
 11                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14
      B&L PRODUCTIONS, INC., d/b/a             3:21-cv-01718 AJB-KSC
 15   CROSSROADS OF THE WEST,
      et al.,
 16
                                    Plaintiffs, REPLY BRIEF IN SUPPORT OF
 17                                             STATE DEFENDANTS’ MOTION
                  v.                            TO DISMISS THE COMPLAINT
 18
                                               Date:     May 19, 2022
 19   GAVIN NEWSOM, in his official            Time:     2:00 p.m.
      capacity as Governor of the State of     Dept:     4A
 20   California and in his personal           Judge:    The Honorable Anthony J.
      capacity, et al.,                                  Battaglia
 21                                          Trial Date: TBD
                                 Defendants. Case Filed: 10/4/2021
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  1        The State Defendants’ Motion to Dismiss explains why legislative, sovereign,
  2   and qualified immunity bar Plaintiffs’ claims against Governor Newsom, Attorney
  3   General Bonta, and/or Secretary Ross. Plaintiffs respond by either disagreeing with
  4   or simply ignoring the governing caselaw as to each form of immunity. The official
  5   defendants should be dismissed on immunity grounds alone.
  6        On the merits, Plaintiffs’ argument is built on the assertion that AB 893
  7   regulates speech. But that premise is wrong, and Plaintiffs’ argument collapses as a
  8   result. As Plaintiffs ultimately concede, AB 893 explicitly prohibits only the sale
  9   of firearms and ammunition. Opp. 4, 20. Unlike the prior policy governing the Del
 10   Mar Fairgrounds, AB 893 does not prohibit gun shows. Nor does it impact whether
 11   Plaintiffs or their customers may gather at events to express their message that
 12   “guns are really good.” Opp. 5. Nor does it prevent over 60 percent of vendors
 13   from continuing to operate at gun shows. Rather, as AB 893’s plain language
 14   makes clear, the law is targeted to prevent illicit firearm and ammunition sales that
 15   still occur at gun shows despite the various laws governing them. And as the Ninth
 16   Circuit has held, prohibiting firearm sales is not a restriction on speech at all.
 17   Plaintiffs’ First Amendment and equal protection claims fail under well-established
 18   precedents, and they admit most of their state-law tort claims fail. The Court
 19   should therefore dismiss all claims without leave to amend.
 20   I.   PLAINTIFFS CONTRADICT SUPREME COURT CASELAW IN TRYING TO
           OVERCOME GOVERNOR NEWSOM’S LEGISLATIVE IMMUNITY
 21
 22        In response to Governor Newsom’s legislative immunity defense, Plaintiffs
 23   assert, without supporting authority, that legislative immunity should not apply in a
 24   “context where an executive officer signs legislation into law” because recognizing
 25   such immunity “does not make sense” and is “unseemly.” Opp. 16. But Plaintiffs’
 26   view of what the law ought to be is inconsistent with what the Supreme Court and
 27   Ninth Circuit have said that the law is. The Supreme Court has long held that an
 28   executive official, such as a governor or mayor, is entitled to legislative immunity
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  1   for signing legislation into law. Bogan v. Scott-Harris, 523 U.S. 44, 55 (1998)
  2   (citing Smiley v. Holm, 285 U.S. 355, 372-373 (1932); see Jones v. Allison, 9 F.4th
  3   1136, 1139-1140 (9th Cir. 2021)). Applying that rule, courts have recognized that
  4   the Governor of California has legislative immunity when signing a bill into law.
  5   See, e.g., Nichols v. Brown, 859 F. Supp. 2d 1118, 1132 (C.D. Cal. 2012); see also
  6   Torres Rivera v. Calderon Serra, 412 F.3d 205, 213 (1st Cir. 2005). Ignoring this,
  7   Plaintiffs instead note the Governor appoints the board of the 22nd District
  8   Agricultural Association (“District”). Opp. 16. They fail to, and cannot, explain
  9   the relevance of the Governor’s appointment power to his legislative immunity.
 10   II.   PLAINTIFFS FAIL TO SUBSTANTIATE ANY EXCEPTION TO SOVEREIGN
            IMMUNITY FOR GOVERNOR NEWSOM AND SECRETARY ROSS
 11
 12         Plaintiffs’ arguments against sovereign immunity fare no better. First,
 13   Plaintiffs assert that Ex parte Young does not apply because the District is not a
 14   state actor and “its officials” are thus not entitled to Eleventh Amendment
 15   immunity. Opp. 17. Plaintiffs are correct that the District itself is not entitled to
 16   sovereign immunity under current Ninth Circuit case law—and that is why the State
 17   Defendants’ Motion does not assert sovereign immunity as to the District. ITSI
 18   T.V. Prod., Inc. v. Agric. Ass’ns, 3 F.3d 1289, 1292-1294 (9th Cir. 1993). But
 19   Governor Newsom and Secretary Ross are not officials of the District, and no
 20   authority supports Plaintiffs’ contention that the District’s lack of sovereign
 21   immunity extends up the chain of authority to Governor Newsom and Secretary
 22   Ross in their official capacities. On the contrary, Judge Bencivengo’s prior ruling
 23   recognizes that state officials without any enforcement role do have sovereign
 24   immunity in precisely these circumstances. See Mot. 9.
 25         Plaintiffs nevertheless contend that the Ex parte Young exception applies to
 26   Governor Newsom because he appoints the District’s board of directors. Opp. 17-
 27   18. But the Ex parte Young exception is limited to those officials who directly
 28   enforce a law, not those who have only “a generalized duty to enforce state law or
                                                 2
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  1   general supervisory power over the persons responsible for enforcing the
  2   challenged provision.” L.A. County Bar Ass’n v. Eu, 979 F.2d 697, 704 (9th Cir.
  3   1992); see Mot. 8-9. And the power to appoint or remove is a supervisory power,
  4   not a direct enforcement power.
  5        As for Secretary Ross, Plaintiffs note the CDFA provides legal counsel and a
  6   legislative coordinator for all district agricultural associations, and they point to
  7   letters concerning a different district agricultural association and a different
  8   fairgrounds. Opp. 18. But again, none of this goes to whether Secretary Ross is
  9   responsible for the direct enforcement of AB 893. On the contrary, these alleged
 10   facts just tend to confirm Judge Bencivengo’s conclusion that Secretary Ross’s
 11   “alleged wrongdoing amounts to supervision over the District,” thus entitling her to
 12   sovereign immunity. Compl., Exh. 4 at 16-17.1
 13   III. THE LACK OF A CLEARLY ESTABLISHED RIGHT UNDERCUTS
           PLAINTIFFS’ QUALIFIED IMMUNITY AND § 1983 DAMAGES ARGUMENTS
 14
 15        Plaintiffs contend that Governor Newsom, Attorney General Bonta, and
 16   Secretary Ross are not entitled to qualified immunity and are liable for damages
 17   under § 1983—as well as punitive damages—because AB 893 “plainly violates
 18   clearly established constitutional rights.” Opp. 19. Plaintiffs are incorrect.
 19        They first point to Judge Bencivengo’s June 2019 preliminary injunction
 20   order. Opp. 19-20. But “district court decisions—unlike those from the courts of
 21   appeals—do not necessarily settle constitutional standards.” Camreta v. Greene,
 22   563 U.S. 692, 709 n.7 (2011). And so only opinions by the Supreme Court or
 23   Ninth Circuit, not one or multiple district court decisions, count as binding “clearly
 24   established” law for qualified immunity purposes. Evans v. Skolnik, 997 F.3d 1060,
 25
            1
              Plaintiffs also theorize that Secretary Ross determines whether the District
 26   can approve a contract for a gun show because the CDFA must approve “revenue-
      generating contracts involving hazardous activities.” Opp. 19, citing Cal. Food &
 27   Agric. Code § 3965.1. But it is up to the CDFA to determine what constitutes a
      hazardous activity, and Plaintiffs point to nothing showing CDFA has concluded
 28   that a gun show where no firearms or ammunition are sold is a hazardous activity.
                                                  3
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  1   1066-1067 (9th Cir. 2021); see also Hamby v. Hammond, 821 F.3d 1085, 1095 (9th
  2   Cir. 2016). Plaintiffs cite no case stating otherwise. Indeed, Judge Bencivengo’s
  3   order itself concluded there was no clearly established law on “propos[ing] or
  4   vot[ing] for a rule banning gun shows from a public fairground,” thus entitling two
  5   District board members to qualified immunity. Compl., Exh. 4 at 15. In any event,
  6   even if a district court order could be clearly established law, that order involved a
  7   moratorium on gun shows at the Fairgrounds and is thus “not particularized to the
  8   facts of the case” here (White v. Pauly, 137 S.Ct. 548, 552 (2017)), which involves
  9   a statute prohibiting only the sale of firearms and ammunition. Plaintiffs admit that
 10   AB 893 does not expressly prohibit gun shows at the Fairgrounds. Opp. 4, 20.
 11   Moreover, the very nature of a preliminary injunction means the order concluded
 12   there was merely a “likelihood of success,” but not guaranteed success, on the First
 13   Amendment and equal protection claims. Compl., Exh. 4 at 19, 25-26.
 14        Plaintiffs next highlight Nordyke v. Santa Clara Cnty., 110 F.3d 707, 710 (9th
 15   Cir. 1997) (“Nordyke 1997”), and mistakenly assert that its circumstances are
 16   identical to those here. Opp. 8, 20. The Ninth Circuit held there that “the act of
 17   exchanging money for a gun is not ‘speech’ within the meaning of the First
 18   Amendment,” and that an offer to sell a firearm is commercial speech. Id. But AB
 19   893 does not explicitly apply to offers for sale, unlike the contract provision at issue
 20   in Nordyke 1997. Also, as the Ninth Circuit stressed, “critical” to its analysis was
 21   the fact that Nordyke 1997 involved a contractual prohibition, and that no law (like
 22   a county ordinance) had been “enacted . . . to prohibit such sales.” Id. at 710-711.
 23   It was only because the regulated conduct had not been rendered unlawful by a law
 24   like AB 893 that Nordyke 1997 found the commercial speech to be “protected.” Id.
 25   Because of these differences, Nordyke 1997 did not place “beyond debate” the
 26   questions raised by Plaintiffs’ constitutional claims such that it defeats qualified
 27   immunity. White, 137 S.Ct. at 551. Indeed, Nordyke 1997 instead demonstrates
 28   why Plaintiffs’ claims are actually wrong on the merits. Mot. 17-18.
                                                 4
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   1        Plaintiffs lastly rely on general precedent regarding commercial speech,
   2   assembly rights, and equal protection rights. Opp. 20-21. But courts cannot extract
   3   clearly established law from the broad history and purpose of a constitutional
   4   amendment (Evans, 997 F.3d at 1067), or from the general rules outlined in
   5   prominent cases regarding the same amendment (Kisela v. Hughes, 138 S.Ct. 1148,
   6   1153 (2018)). Such generality is exactly what the Supreme Court has repeatedly
   7   warned against because it fails to give officials “fair and clear warning.” Id.
   8        Without a clearly established right, Plaintiffs cannot avoid qualified immunity
   9   or the preclusion of damages claims under § 1983. For the first time and without
  10   alleging as much in the Complaint, Plaintiffs assert they will seek punitive damages
  11   against Governor Newsom, Attorney General Bonta, and Secretary Ross. Opp. 22.
  12   In doing so, Plaintiffs attempt to rewrite their Complaint and surmise what
  13   discovery might show (Opp. 22); these are efforts this Court should reject as
  14   impermissible and irrelevant at this stage. Plaintiffs acknowledge, by relying on
  15   Hafer v. Melo, 502 U.S. 21, 26-27 (1991), that the official-capacity damages claims
  16   are precluded. Opp. 22. As to the individual-capacity damages claims, they do not
  17   address why such claims are not “mere pleading device[s]” for the official-capacity
  18   claims. Id.; Grunert v. Campbell, 248 F. App’x 775, 778 (9th Cir. 2007). They cite
  19   no alleged individual action by Attorney General Bonta. The alleged individual
  20   action by Governor Newsom occurred before he became governor. Opp. 23. And,
  21   Secretary Ross’s alleged action concerned letters regarding the Ventura County
  22   fairgrounds, not AB 893. Opp. 23. The damages claims are precluded entirely.
  23   IV. AB 893 DOES NOT TRIGGER THE FIRST AMENDMENT AND,
           ALTERNATIVELY, WOULD PASS ANY APPLICABLE SCRUTINY REVIEW
  24
  25        A.   Plaintiffs Neglect Their Burden to Show AB 893 Impacts Speech
  26        Plaintiffs’ arguments about their First Amendment claims put the cart before
  27   the horse. They start from the assumption that AB 893 is a content-based
  28   restriction on speech and emphasize the heightened scrutiny that must be applied.
                                                 5
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   1   Opp. 8, 10. But they fail to first meet their burden of showing that AB 893
   2   regulates speech at all. Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288,
   3   293 n.5 (1984). Plaintiffs admit that AB 893 “does not expressly ban gun shows
   4   from” the Fairgrounds. Opp. 20, see also Opp. 4. The plain language of AB 893
   5   merely prohibits the sale of firearms and ammunition at the Fairgrounds. Cal. Food
   6   & Agric. Code § 4158(a). And, the Ninth Circuit has long held that the sale of a
   7   firearm is not speech under the First Amendment. Nordyke 1997, 110 F.3d at 710;
   8   see also Nordyke v. King, 319 F.3d 1185, 1191 (9th Cir. 2003) (“Nordyke 2003”).
   9   If AB 893 prohibits only sales, and sales do not constitute speech, then AB 893
  10   does not regulate speech. Plaintiffs fail to address this major hurdle.
  11        Instead, Plaintiffs baselessly assert that AB 893 “directly bans . . . otherwise
  12   lawful speech related to the sale of legal firearms and ammunition.” Opp. 6. But,
  13   as the State Defendants’ Motion demonstrates (Mot. 11-14), AB 893 does not
  14   prohibit the expressive activities that Plaintiffs describe typically occur at gun
  15   shows (Opp. 1, 5, 9), nor does AB 893 prohibit the transactions handled by more
  16   than 60 percent of the vendors at B&L gun shows. Compl. ¶ 57. The only case
  17   Plaintiffs cite to support their argument that AB 893 regulates speech is Nordyke
  18   1997, but they misread its facts and its holdings. Opp. 6, 8-9. As explained ante, in
  19   Section III (see also Mot. 17-18), Nordyke 1997 involved no “enacted” law, unlike
  20   AB 893, and it involved a contract provision that explicitly prohibited offers to sell
  21   a firearm, whereas AB 893 has no such explicit prohibition. 110 F.3d at 710.
  22   Plaintiffs insist that AB 893 does apply to offers for sale (Opp. 1, 6), but they point
  23   to no language in AB 893 providing as much. 2
  24        Plaintiffs also contend that the sale of firearms and ammunition at gun shows
  25   is “inextricably intertwined” with the expressive activities that occur at gun shows.
  26         2
                Plaintiffs also misread the holding in Nordyke v. King, 681 F.3d 1041, 1043
       n. 2 (9th Cir. 2012) (“Nordyke 2012”). Opp. 8-9. Nordyke 2012 endorsed the First
  27   Amendment analysis in Nordyke v. King, 644 F.3d 776, 794 (9th Cir. 2011)
       (“Nordyke 2011”), which held that a county prohibition on the possession of
  28   firearms and ammunition on county property was constitutional.
                                                  6
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   1   Opp. 9. Under this theory, when commercial speech is inextricably intertwined
   2   with non-commercial speech, the entirety of the speech is entitled to non-
   3   commercial speech protections. Bd. of Trs. of State Univ. of N.Y. v. Fox, 492 U.S.
   4   469, 474 (1989); Hunt v. City of Los Angeles, 638 F.3d 703, 715-716 (9th Cir.
   5   2011). This theory is inapplicable here in multiple respects. First, as stated
   6   previously, the sale of a firearm or ammunition is not even commercial speech; it is
   7   not speech at all. Nordyke 1997, 110 F.3d at 710. Also, “a gun itself is not
   8   speech,” nor is the possession of a gun. Nordyke 2003, 319 F.3d at 1189. There is
   9   thus no commercial speech for the non-commercial speech to intertwine with.
  10        This intertwined theory also does not apply when “the two components of
  11   speech can be easily separated.” Hunt, 638 F.3d at 715. The only nexus between
  12   firearm sales and non-commercial speech regarding firearms noted by Plaintiffs is
  13   the alleged profitability of gun shows when such sales take place there. Compl.
  14   ¶ 59. But profitability is not a “meaningful nexus” supporting a determination that
  15   firearm sales and non-commercial speech are inextricably intertwined. Hunt, 638
  16   F.3d at 716. Courts have repeatedly rejected the argument that the sale of a
  17   regulated item is inextricably intertwined with speech pertaining to that item, and
  18   this Court should follow that rule here. Id. at 716-717 (the plaintiffs’ sale of shea
  19   butter and incense was not inextricably intertwined with the spiritual messages they
  20   incorporated into their sales pitches); see also Fox, 492 U.S. at 474 (prohibiting the
  21   sale of housewares in a college dorm did not “prevent[] the speaker from
  22   conveying, or the audience from hearing” non-commercial speech about home
  23   economics). Nor is it “impossible” (id.) for Plaintiffs to express their view that
  24   “guns really are good” (Opp. 5) without firearm sales also occurring at gun shows;
  25   they may gather and express that view without implicating anything in AB 893.
  26        B.   AB 893 Passes Multiple Levels of Scrutiny
  27        Because AB 893 does not regulate speech, it is subject to rational basis
  28   review. Mot. 14. It easily satisfies such review. Mot. 14-15. In the alternative,
                                                  7
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   1   AB 893 also satisfies the other possibly applicable review standards, including: (1)
   2   the reasonableness standard for a type of nonpublic forum called a limited public
   3   forum (Mot. 15-17)3; (2) the test for commercial speech regulations (Mot. 17-18);
   4   and (3) intermediate scrutiny (Mot. 18-21).
   5        Plaintiffs contend that AB 893 fails all these levels of scrutiny because, in
   6   part, the “State has no sufficient interest” in prohibiting firearm and ammunition
   7   sales at the Fairgrounds. Opp. 12. In criticizing AB 893’s clear public safety
   8   interest, Plaintiffs demand support such as peer reviewed studies, evidence of
   9   dangerous incidents at B&L gun shows at the Fairgrounds, and a comparison of
  10   crimes at gun shows to those at other Fairgrounds events. Opp. 6, 13-14. But this
  11   imposes a standard not required by the Ninth Circuit. For example, when applying
  12   intermediate scrutiny, courts “do not impose an ‘unnecessarily rigid burden of
  13   proof,’” and must remember they are “weighing a legislative judgment, not
  14   evidence in a criminal trial.” Pena v. Lindley, 898 F.3d 969, 979 (9th Cir. 2018)
  15   (citing First and Second Amendment caselaw). Courts also “do not require
  16   ‘scientific precision’” (Mai v. United States, 952 F.3d 1106, 1118 (9th Cir. 2020)),
  17   and must accord substantial deference to the Legislature’s judgment in the face of
  18   policy disagreements and conflicting evidence. Pena, 898 F.3d at 979-980. And,
  19   there need not be a showing that B&L itself contributed to the problem motivating
  20   AB 893. Nordyke 2011, 644 F.3d at 793. Plaintiffs’ arguments are untenable under
  21   these authorities as they improperly seek to replace the Legislature’s policy
  22   judgment with their own. The Ninth Circuit has long held there is a substantial
  23   government interest in preventing gun violence resulting from illicit firearm and
  24   ammunition transactions—the same interest motivating AB 893. Nordyke 1997,
  25   110 F.3d at 713; see also Bauer v. Becerra, 858 F.3d 1216, 1223 (9th Cir. 2017).
  26   Plaintiffs point to statements by Governor Newsom before he was governor and by
  27         3
               Plaintiffs wrongly assert that Judge Bencivengo held the Fairgrounds is a
       public forum. Opp. 7, n.8. Judge Bencivengo did not rule on this issue because the
  28   conclusion was the same “[r]egardless of the type of forum.” Compl., Exh. 4 at 22.
                                                 8
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   1   AB 893’s author to argue this interest is a pretext (Opp. 15), but this ignores Ninth
   2   Circuit authority that such statements are irrelevant to the analysis. Mot. 19.
   3        Plaintiffs further assert that AB 893’s sales prohibition is too broad to serve
   4   the public safety interest. Opp. 15. But, as Plaintiffs allege, California has a
   5   “rigorous regulatory regime” for firearm and ammunition sales (Compl. ¶ 30), and
   6   yet, illicit transactions still occur at gun shows. Id., Exh. 6 at 54. This suggests that
   7   stricter laws are not possible and would not solve the problem. The Ninth Circuit
   8   has held that prohibiting firearm possession on county land was a “straightforward
   9   response” to the risk of gun violence. Nordyke 2011, 644 F.3d at 794. The same is
  10   true for prohibiting firearm and ammunition sales on public land in AB 893.
  11   Dismissal of the First Amendment claims is warranted. 4
  12   V.   PLAINTIFFS ARE NOT A SUSPECT CLASS OR CLASS OF ONE
  13        Without citing any supporting caselaw or responding to the State Defendants’
  14   arguments (Mot. 22-23), Plaintiffs assert their equal protection claim is entitled to
  15   heightened scrutiny because “gun culture” members are a suspect class. Opp. 11-
  16   12. If true, then any interest group would constitute a suspect class. Such an
  17   unsustainable rule would nearly always trigger heightened scrutiny. AB 893, like
  18   the county ordinance prohibiting the possession of firearms or ammunition on
  19   county property upheld by the Ninth Circuit, “does not classify shows or events on
  20   the basis of a suspect class.” Nordyke 2012, 681 F.3d at 1043 n. 2. Since Plaintiffs
  21   are also not a class of one, rational basis applies and is satisfied here. Mot. 22-23.5
  22
  23         4
                Plaintiffs cursorily mention their association and prior restraint claims, but
       in no way respond to the State Defendants’ arguments regarding them. Compare
  24   Opp. 7, 10, n.10 with Mot. 21, 22, n.6. They have thus abandoned these claims and
       they should be dismissed. Toranto v. Jaffurs, 297 F. Supp. 3d 1073, 1104 (S.D.
  25   Cal. 2018) (dismissing claim as abandoned where plaintiff did not address the claim
       when opposing a motion).
  26          5
                Although the term “animus” is used liberally in the Opposition brief and
       more often than done so in the Complaint (compare Opp. 1, 5, 10, 13, 15, 21 with
  27   Compl. ¶¶ 122, 215), Plaintiffs fail to point to anything in AB 893 demonstrating a
       “bare . . . desire to harm a politically unpopular group” or “discriminations of an
  28   unusual character.” United States v. Windsor, 570 U.S. 744, 770 (2013).
                                                  9
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   1   VI. PLAINTIFFS CONCEDE THE STATE-LAW TORT CLAIMS ARE LIMITED TO
           THE DISTRICT, BUT THE DISTRICT IS ALSO ENTITLED TO DISMISSAL
   2
   3        At the outset, Plaintiffs concede their state-law tort claims can only survive
   4   against the District. Opp. 24, n.11. But they fail to persuasively explain why this
   5   Court should exercise its supplemental jurisdiction over such claims or why they
   6   are not precluded by California’s Government Claims Act (“GCA”). Mot. 23-25.
   7        First, Plaintiffs assert they alleged a statutory basis for their state-law tort
   8   claims because the Complaint identifies the GCA. Opp. 23. This contention turns
   9   the GCA on its head. Under the GCA, a public entity is immune from state-law
  10   claims “[e]xcept as otherwise provided by statute” (Cal. Gov’t Code § 815(a)), or
  11   when the entity “is under a mandatory duty imposed by an enactment.” Id. § 815.6;
  12   id. § 810.6. There thus must be a statute or enactment, other than the GCA, that
  13   authorizes the lawsuit. Miklosy v. Regents of Univ. of Cal., 44 Cal.4th 876, 899
  14   (2008); Searcy v. Hemet Unified Sch. Dist., 177 Cal.App.3d 792, 802 (1986).
  15        Plaintiffs argue they timely presented their tort claims since they accrue each
  16   time the District declines to contract for a gun show under AB 893 (Opp. 24), but
  17   this is meritless without an allegation identifying specific dates when such denials
  18   occurred. Compl. ¶¶ 131-137. Although Plaintiffs also highlight AB 893’s
  19   operative date, they facially challenge the adoption of AB 893 on October 11, 2019,
  20   and their claims were presented more than the one year after that date.6 Mot. 25.
  21   VII. CONCLUSION
  22        The Complaint should be dismissed without leave to amend.
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  27         6
             Plaintiffs’ concession in footnote 11 confirms the adoption of AB 893 is
       gravamen of their tort claims. Opp. 24. They also baselessly accuse Governor
  28   Newsom and Secretary Ross of a conspiracy without raising such a claim.
                                                  10
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   4
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